Case 2:85-cv-04544-DMG-AGR Document 1161-22 Filed 08/09/21 Page 1 of 5 Page ID
                                 #:44491




                    EXHIBIT R
     Case 2:85-cv-04544-DMG-AGR Document 1161-22 Filed 08/09/21 Page 2 of 5 Page ID
                                      #:44492



 1    I,                    , declare as follows:
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 3    1.      This declaration is based on my personal knowledge. If called to testify in this
 4    case, I would testify competently about these facts.
 5    2.      I am 13 years old. I am from El Salvador.
 6    3.
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 8            .
 9    4.      I was apprehended by Border Patrol agents near Reynosa. I was with a group of
10 other kids, but we all got separated.
11 5.
12 CBP Custody
13         6. I was in CBP for 10 days.
14         7. I was always hungry there, when I would ask for more food, they would tell me to
15            go to hell.
16         8. We were all going crazy in there because we wanted to leave, one child had been
17            there for two weeks and would beg to leave. He would bang his head against steel
18            bar.
19         9. There were so many children and about 20 of us would sleep on a mat together,
20            sometimes I just slept on the floor. They would give us a nylon blanket. It was so
21            cold there. I never warmed up, I was always cold there.
22         10. I had a pain in my chest and went to the clinic. They gave me a cream, but the
23            pain was so bad and the cream didn’t help.
24         11. From CBP, I was transferred to Fort Bliss.
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     Case 2:85-cv-04544-DMG-AGR Document 1161-22 Filed 08/09/21 Page 3 of 5 Page ID
                                      #:44493



 1    Fort Bliss
 2    12.    I have been here for 29 days; I was one of the very first groups of boys to arrive
 3    and I am still here. I was told that I’d only be here for 3 days and then would go to a
 4    shelter.
 5    13.    When I got here, they took away everything I had with me.
 6    14.    After I was here for 5 days, I was transferred to a hospital because I was
 7    experiencing a lot of sharp pain. I passed kidney stones at the hospital. The doctor said
 8    that I should be in less pain but will need to drink 6 pitchers of waters a day. It was very
 9    scary being in the hospital by myself, without any family.
10    15.    My sister in California is applying to be my sponsor. After I was here for 9 days I
11    met with a case manager. My sister has done all of her paperwork, all they are waiting on
12    now is the fingerprints. She is still waiting to get her appointment.
13    16.    One day, I was playing soccer outside with my friend, and then an older youth
14    came over to harass us, he took away the ball we were using. He threw the ball into my
15    face and then put me into a headlock. No staff saw this happen. Then my friend helped
16    me get out of the headlock, and then I pushed him and told him to leave me alone, but
17    then he punched me in the mouth. The older boy told the staff that I started he fight.
18    Because he was older than me, the staff believed him over me even though I had my
19    friend as a witness.
20    17.    I’m so scared here. A large man with glasses, a blue shirt and a cap told me that if I
21    ever spoke harshly or hit a child, then I would be deported. I am terrified of being
22    deported because the gangs are trying to kill me.
23    18.    In the room where we sleep there are hundreds of children. The older boys there
24    get aggressive with one another, they are always looking for a fight. They call me a girl
25    because I don’t look for fights. I do not feel safe around them.
26    19.    It’s hard for me to stay asleep at night because of my kidney stones so I have to go
27    to the bathroom a lot.
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     Case 2:85-cv-04544-DMG-AGR Document 1161-22 Filed 08/09/21 Page 4 of 5 Page ID
                                      #:44494



 1    20.   I spend most of my days making bracelets but I just ran out of materials, and the
 2    Red Cross volunteers are gone so I won’t get more.
 3    21.    I haven’t spoken to a mental counselor since I’ve been here.
 4    22.   There’s no school here but the Red Cross volunteers help us learn English.
 5    23.   The food is fine here and I get enough to eat.
 6    24.   I have been able to shower regularly since I’ve been here.
 7    25.   I have not had a Know Your Rights Presentation yet; I don’t know when I get to go
 8    to the presentation.
 9    26.   I just want to go live with my sister. I’d like to study hard and become a mechanic.
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Case 2:85-cv-04544-DMG-AGR Document 1161-22 Filed 08/09/21 Page 5 of 5 Page ID
                                 #:44495
